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The following constitutes the ruling of the court and has the force and effect therein described.




Signed July 14, 2021
______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
     IN RE:                                 §
                                            §
     HIGHLAND CAPITAL MANAGEMENT §                           CASE NO. 19-34054-SGJ-11
     L.P.,                                  §                (CHAPTER 11)
           DEBTOR.                          §
     ______________________________________ §
     HIGHLAND CAPITAL MANAGEMENT §
     L.P.,                                  §                ADVERSARY NO. 21-03006
           PLAINTIFF,                       §                (CIV. ACTION #3:21-CV-01378-N)
                                            §
     VS.                                    §
                                            §
     HIGHLAND CAPITAL MANAGEMENT §
     SERVICES, INC.,                        §
           DEFENDANT.                       §

      REPORT AND RECOMMENDATION TO DISTRICT COURT PROPOSING THAT IT:
      (A) GRANT DEFENDANT’S MOTION TO WITHDRAW THE REFERENCE AT SUCH
        TIME AS BANKRUPTCY COURT CERTIFIES THAT ACTION IS TRIAL READY;
             AND (B) DEFER PRETRIAL MATTERS TO BANKRUPTCY COURT




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      I.      INTRODUCTION

      The above-referenced adversary proceeding (the “Adversary Proceeding”) is related to the

bankruptcy case of Highland Capital Management, L.P. (the “Bankruptcy Case”). 1 Highland

Capital Management, L.P. (the “Debtor” or “Highland”) filed a voluntary Chapter 11 petition on

October 16, 2019 in the United States Bankruptcy Court of Delaware. Tha t court subsequently

entered an order transferring venue to the Northern District of Texas, Dallas Division, on

December 4, 2019. A Chapter 11 plan was confirmed by the bankruptcy court on February 22,

2021.

      On January 22, 2021, shortly before its Chapter 11 plan was confirmed, the Debtor, as Plaintiff,

brought this Adversary Proceeding against the Defendant, Highland Capital Management

Services, Inc. (“HCMS-Defendant”).

       The Adversary Proceeding pertains to five promissory notes (collectively, the “Notes”)

executed by HCMS-Defendant in favor of the Debtor from 2017 through 2019. The Notes consist

of a term note (the “Term Note”) with annual payments and four demand notes (the “Demand

Notes”).

      On December 3, 2020, the Debtor sent HCMS-Defendant a letter demanding payment by

December 11, 2020 on each of the Demand Notes, as allowed under the terms of the Demand

Notes. The HCMS-Defendant failed to make payment on any of the Demand Notes. On December

31, 2020, HCMS-Defendant failed to make the annual payment due under the Term Note. On

January 7, 2021, following HCMS-Defendant’s failure to pay, the Debtor accelerated the Term



1
    Bankruptcy Case No. 19-34054.

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Note, under its terms, and demanded full payment on $6,757,248.95 outstanding and due under

the Term Note.

      Following HCMS-Defendant’s failure to pay on the Notes in response to the demand letters,

the Debtor brought this action to collect on the Notes. The Debtor’s Chapter 11 plan contemplates

collection on the Notes (as well as several other notes of parties related to HCMS-Defendant) as

part of its funding to pay creditors.

      Under the United States District Court for the Northern District of Texas’ standing order of

reference 2, proceedings arising in, or related to, a case under Title 11 are automatically referred to

the bankruptcy court. HCMS-Defendant submitted a Motion for Withdrawal the Reference 3 (the

“Motion”) and Brief in Support of Motion to Withdraw the Reference 4 (the “Brief in Support”)

seeking to have the reference withdrawn, such that this Adversary Proceeding would be

adjudicated in the District Court. The bankruptcy court conducted a status conference concerning

the Motion, pursuant to Local Bankruptcy Rule 5011-1, on July 8, 2021.

      The bankruptcy court submits the following report and recommendation to the District Court,

ultimately recommending that the Motion be granted, but only at such time as the bankruptcy

court certifies to the District Court that the lawsuit is trial ready. The bankruptcy court further

recommends that the District Court defer to the bankruptcy court the handling of all pretrial

matters.




2
  Misc. Order No. 33.
3
  Adversary Case No. 21-03006, Dkt. 19.
4
  Adversary Case No. 21-03006, Dkt. 20.

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      II.      NATURE OF THE ADVERSARY PROCEEDING

               a. The Complaint and Procedural History

            The Debtor commenced this Adversary Proceeding by filing its Complaint for (I) Breach

of Contract and (II) Turnover of Property of the Debtor’s Estate 5 on January 22, 2021. The

Debtor’s Complaint asserts two causes of action: (1) a breach of contract claim (“Count 1”) and

(2) a turnover action under 11 U.S.C. § 542(b) for the amounts owed on the Note s (“Count 2”).

The principal amounts and execution dates for each of the four Demand Notes were: (i) $150,000,

executed March 28, 2018, (ii) $200,000, executed June 25, 2018, (iii) $400,000, executed May 29,

2019, and (iv) $150,000, executed June 26, 2019. The principal amount of the Term Note was

originally $20,247,628.02 and it was executed on May 31, 2017. The Debtor now seeks combined

monetary damages on the Notes totaling $7,704,768.38, plus accrued but unpaid interest and cost

of collection. Because the Debtor alleges the amount due on the Notes are property of its estate, it

argues that turnover pursuant to 11 U.S.C. § 542(b) is appropriate.

            After being served with summons on January 25, 2021, HCMS-Defendant filed its Original

Answer6 on March 3, 2021 and First Amended Answer7 on June 11, 2021.

            HCMS-Defendant filed two proofs of claim in the Bankruptcy Case, Proof of Claim Nos.

175 and 176. Both proofs of claim were based on alleged post-petition actions or inaction of the

Debtor as fund investment advisor in managing funds in which HCMS-Defendant is an investor.

On October 9, 2020, the bankruptcy court entered a First Supplemental Order Sustaining First

Omnibus Claims Objection 8, which disallowed both of HCMS-Defendant’s proofs of claim. The

disallowed proofs of claim did not relate to the Notes.


5
  Adversary Case No. 21-03006, Dkt. 1.
6
  Adversary Case No. 21-03006, Dkt. 6.
7
  Adversary Case No. 21-03006, Dkt. 34.
8
  Bankruptcy Case No. 19-34054, Dkt. 1155.

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                b. The Motion to Withdraw the Reference, Response Opposed, and Reply

           On June 3, 2021, HCMS-Defendant filed the Motion. As a result, the above-captioned civil

action was created in the District Court. The Debtor never filed a responsive pleading to the Motion

filed by the HCMS-Defendant. The bankruptcy court held a status conference, as required by Local

Bankruptcy Rule 5011-1, on July 8, 2021, to assist in the bankruptcy court’s preparation of this

Report and Recommendation.

                         i. The Movant’s Position

           HCMS-Defendant argues there is cause shown for permissive withdrawal of the reference

because: (1) the Texas Constitution guarantees a party to a contract a right to a jury trial; (2) the

contract claim is a purely state law, non-core claim; (3) the turnover claim, under the Bankruptcy

Code, is wholly derivative of the contract claim, as the amount to be turned over is based on the

resolution of the contract claim; and (4) efficiency, uniformity and forum shopping factors all favor

withdrawal.9

           Further, HCMS-Defendant contends it has made a demand for a jury trial and has not

consented, expressly or impliedly, to the equitable jurisdiction of the bankruptcy court to enter

final orders in the Adversary Proceeding or hold a jury trial. HCMS-Defendant argues it has never

filed a proof of claim related to the Notes, thus negating any argument it has consented to the

bankruptcy court having jurisdiction over the litigation of the Notes.

           Finally, HCMS-Defendant alleges that permissive withdrawal is proper, because the

turnover claim is being used as a “Trojan Horse” to attempt to make a non-core breach of contract

claim become core. 10




9
    Adversary Case No. 21-03006, Dkt. 20 at 6-11.
10
    Id. at 8-9; see In re Soundview Elite Ltd., 543 B.R. 78, 97 (Bankr. S.D.N.Y. 2016).

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        As far as timing, HCMS-Defendant requests that the District Court immediately withdraw

the reference and hear all pre-trial matters until the parties are trial-ready.

     III.    THE BREACH OF CONTRACT CLAIMS AT THE CENTER OF                                               THE
             ADVERSARY PROCEEDING ARE NONCORE CLAIMS, AND                                                 THE
             DISALLOWED PROOFS OF CLAIM OF HCMS-DEFENDANT                                                 ARE
             UNRELATED TO THEM

     Permissive withdrawal of the reference is described in 28 U.S.C. § 157(d) as follows: “The

district court may withdraw, in whole or in part, any case or proceeding referred under this section,

on its own motion or on timely motion of any party, for cause shown.” The Bankruptcy Code does

not define “cause shown,” but the United States Court of Appeal for the Fifth Circuit, interpreting

the Supreme Court case of Northern Pipeline Const. Co. v. Marathon Pipe Line Co., has identified

a number of factors for courts to consider in determining whether permissive withdrawal of the

reference is appropriate: (1) whether the matter is core or noncore; (2) whether the matter involves

a jury demand; (3) whether withdrawal would further uniformity in bankruptcy administration; (4)

whether withdrawal would reduce forum-shopping and confusion; (5) whether withdrawal would

foster economical use of debtors’ and creditors’ resources; and (6) whether withdrawal would

expedite the bankruptcy process. 11 Courts in this District have placed an emphasis on the first two

factors.12

     As explained by the Supreme Court in Stern v. Marshall, Congress has divided bankruptcy

proceedings (i.e., adversary proceedings or contested matter within a bankruptcy case)—over

which there is bankruptcy subject matter jurisdiction—into three different categories: (a) those that

“aris[e] under” Title 11; (b) those that “aris[e] in” a Title 11 case; and (c) those that are “related



11
   Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 998-99 (5th Cir. 1985); Mirant Corp. v. The Southern
Co., 337 B.R. 107, 115-23 (N.D. Tex. 2006); 458 U.S. 50 (1982).
12
   See Mirant, 337 B.R. at 115-122.

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to” a case under Title 11. 13 Further, those that arise under Title 11 or arise in a Title 11 case are

defined as “core” matters 14 and those that are merely “related to” a Title 11 case are defined as

“noncore” matters. The significance of the “core”/”noncore” distinction is that bankruptcy courts

may statutorily enter final judgments in “core” proceedings in a bankruptcy case, while in

“noncore” proceedings, the bankruptcy courts instead may only (absent consent from all of the

parties) submit proposed findings of fact and conclusions of law to the district court, for that court's

review and issuance of final judgment. This is the statutory framework collectively set forth in 28

U.S.C. § 1334 and 28 U.S.C. § 157. But while a proceeding may be “core” in nature , under 28

U.S.C. § 157(b)(2), and the bankruptcy court, therefore, has the statutory power to enter a final

judgment on the claim under 28 U.S.C. § 157(b)(1), Stern instructs that any district court, in

evaluating whether a bankruptcy court has the ability to issue final orders and judgments, must

resolve not only: (a) whether the bankruptcy court has the statutory authority under 28 U.S.C. §

157(b) to issue a final judgment on a particular claim; but also (b) whether the conferring of that

authority on an Article I bankruptcy court is constitutional (and this turns on whether “the action

at issue stems from the bankruptcy itself or would necessarily be resolved in the claims allowance

process”).15

     With respect to the claims asserted against HCMS-Defendant, it might be argued that both

counts asserted against it are statutorily core in nature. 16 While Count 1 is a breach of contract

claim for collection of amounts due under promissory notes—one of the simplest forms of a state

law lawsuit—it might be argued that Count 1 is statutorily core under the catchall provision of 28



13
   28 U.S.C. § 1334(b); Stern v. Marshall, 564 U.S. 462, 473-474 (2011).
14
   Stern, 564 U.S. at 473-474. Core proceedings include, but are not limited to, 16 different types of matters, including
“counterclaims by [a debtor's] estate against persons filing claims against the estate.” 28 U.S.C. § 157(b)(2)(C).
15
   Stern, 564 U.S. at 499.
16
   28 U.S.C. § 157(b)(2)(E), (O).

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U.S.C. § 157(b)(2)(O), as the resolution of the claim would be “affecting the liquidation of the

assets of the estate.” However, this position would not pass constitutional muster. The cause of

action does not stem from the bankruptcy itself (i.e., it stems from alleged defaults on pre-petition

notes) and would not be resolved through the claims allowance process (since no pending proof

of claim exists related to the Notes). In other words, the resolution of Count 1 cannot be

inextricably intertwined with the resolution of HCMS-Defendant’s disallowed proofs of claim so

as to confer constitutional authority on the bankruptcy court to enter a final judgment on the breach

of contract claims.

     Count 2, the turnover cause of action, is brought pursuant to 11 U.S.C. § 542(b) and is listed

as statutorily core under 28 U.S.C. § 157(b)(2)(E). If Count 2 were freestanding and the debts due

under the Notes were undisputed, it is unrefuted by HCMS-Defendant that a turnover action under

11 U.S.C. § 542(b) would be both a statutory and constitutional core claim. The issue is whether

a turnover action to collect on disputed pre-petition promissory notes can be viewed as a core

claim. There is a split in authority on this issue. Authority exists that a turnover action is a core

claim when collecting matured debts, as property of the estate, regardless of whether the

indebtedness is disputed.17 In contrast, HCMS-Defendant cites authority that the scope of turnover

claims under the Bankruptcy Code should not be expanded to encompass debts in dispute that

arose outside of bankruptcy, including authority from this court. 18


17
   Shaia, 476 B.R. at 230 (“To properly constitute a core proceeding under § 157(b)(2)(E), the debt must be ‘matured,
payable on demand, or payable on order.’ ‘Matured’ refers to ‘debts that are presently payable, as opposed to those
that are contingent and become payable only upon the occurrence of a certain act or event.’ …. While the Defendants
assert they are not indebted to the Trustee, it is simply not relevant that the Defendants dispute liability on the
instrument. The presence of a dispute does not preclude a debt from being matured. … A cause of actio n is a turnover
proceeding under § 542(b) of the Bankruptcy Code where it seeks collection rather than creation or liquidation of a
matured debt.”); see also In re Willington Convalescent Home, Inc., 850 F.2d at 52 n.2 (“The mere fact that
Connecticut denies that it owes the matured debt for Willington’s services because of a recoupment right ‘does not
take the trustee’s action outside the scope of section 542(b)’”).
18
   In re Se. Materials, Inc., 467 B.R. 337, 354 (Bankr. M.D.N.C. 2012)( The distinction is when “an adversary
proceeding presents a bona fide dispute as to liability, the matter cannot be viewed as a turnover proceeding”); In re

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    This court views the turnover claim as derivative of the breach of contract claims. The breach

of contract claims are clearly non-core, and the bankruptcy court lacks constitutional authority to

confer jurisdiction over them (absent consent—which does not exist here). A turnover action under

11 U.S.C. § 542(b) cannot be tacked onto a complaint so as to confer authority in the bankruptcy

court to adjudicate an otherwise non-core claim. To hold otherwise would run counter to the

dictates of the Supreme Court in Marathon.

         In summary, this court believes that the turnover claim in the Complaint, to collect on a

disputed indebtedness under the Notes, “do[es] not fall within the scope of turnover actions as

contemplated by § 542 and § 157(b)(2)(E),” absent a judgment or stipulation resolving the dispute

as to the indebtedness. 19 Thus, the turnover claim, as brought, is not a core claim that the

bankruptcy court can finally adjudicate, absent the consent of all parties.

    IV.      JURY TRIAL RIGHTS AND DEMAND

    Pursuant to 28 U.S.C. § 157(e), if a litigant has the right to a jury trial under applicable non-

bankruptcy law, a bankruptcy court may conduct the jury trial only if: (a) the matters to b e finally

adjudicated fall within the scope of bankruptcy subject matter jurisdiction; (b) the district court of

which the bankruptcy court is a unit authorizes the bankruptcy court to do so; and (c) all of the

parties consent. 20

    Starting first with whether a right to a jury trial even exists, the Seventh Amendment, of course,

provides a jury trial right in cases in which the value in controversy exceeds twenty dollars and



Satelco, Inc., 58 B.R. 781, 789 (Bankr. N.D. Tex. 1986) (“[T]his Court holds that actions to collect accounts receivable
based upon state law contract principles do not fall within the scope of turnover actions as contemplated by § 542 and
§ 157(b)(2)(E), absent a final judgment from a court of competent jurisdiction, a stipulation, or some other binding
determination of liability.”).
19
   Satelco, 58 B.R. at 789.
20
   “If the right to a jury trial applies in a proceeding that may be heard under this section by a bankruptcy judge, the
bankruptcy judge may conduct the jury trial if specially designated to exercise such jurisdiction by the district court
and with the express consent of all the parties.” 28 U.S.C. § 157(e) (West 2019).

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the cause of action is to enforce statutory rights that are at least analogous to rights that were tried

at law in the late 18th century English courts. 21 Suits “at law” refers to “suits in which legal rights

were to be ascertained and determined” as opposed to “those where equitable rights alone were

recognized and equitable remedies were administered.”22 This analysis requires two steps: (1) a

comparison of the “statutory action to 18th century actions brought in the courts of England prior

to the merger of the courts of law and equity”; and (2) whether the remed y sought is “legal or

equitable in nature . . . [t]he second stage of this analysis” being “more important than the first.”23

     It is well established that the act of filing a proof of claim can operate to deprive a creditor of

a jury trial right, by subjecting a claim, that would otherwise sound only in law, to the equitable

claims allowance process. 24 Thus, if both of HCMS-Defendant’s proofs of claims were pending,

it would have consented to the bankruptcy court’s equitable jurisdiction and waived its right to a

jury trial as to the subject matter of the pending proofs of claim.25 However, as earlier noted, prior

to the commencement of this Adversary Proceeding on January 22, 2021, HCMS-Defendant had

both of its proofs of claim disallowed on October 9, 2020. Without a pending claim related to the

Notes, the breach of contract claim is precisely the kind of action that would sound in law rather

than in equity. By not having a filed proof of claim related to the Notes, HCMS-Defendant never

subjected the Notes to the claims allowance process of the bankruptcy court and preserved its right

to a jury trial on the Notes.26 HCMS-Defendant has also not consented to the bankruptcy court

conducting a jury trial pursuant to 11 U.S.C. § 157(e).


21
   See City of Monterey v. Del Monte Dunes, 526 U.S. 687, 708 (1999).
22
   Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 41 (1989).
23
   See Levine v. M & A Custom Home Builder & Developer, LLC, 400 B.R. 200, 205 (S.D. Tex. 2008) (quoting
Granfinanciera, 492 U.S. at 42).
24
   See Langenkamp v. Culp, 498 U.S. 42, 44-45 (1990).
25
   Id.
26
   Smith v. Dowden, 47 F.3d 940, 943 (8th Cir. 1995) (“[T]he successful withdrawal of a claim pursuant to Fed. R.
Bankr. P. 3006 prior to the trustee’s initiation of an adversarial proceeding renders the withdrawn claim a legal nullity
and leaves parties as if the claim had never been brought.”); In re Goldblatt’s Bargain Stores, Inc., No. 05 C 03840,

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    In summary, HCMS-Defendant’s lack of waiver of its jury trial rights, expressly or impliedly,

is further reason why the bankruptcy court does not believe it can finally adjudicate the claims in

the Adversary Proceeding.

    V.       PENDING MATTERS

    On July 8, 2021, the bankruptcy court held a status conference with regard to the Motion. At

such time, the bankruptcy court approved, in part, Defendant’s Expedited Motion to Stay Pending

the Resolution of Motion to Withdraw the Reference of Adversary Proceeding.27 In its oral ruling,

the court granted the HCMS-Defendant’s request for a stay pending resolution of the Motion as to

dispositive motions in the Adversary Proceeding, but did not grant a stay as to any discovery.

Under the Agreed Scheduling Order, 28 fact discovery concluded on July 5, 2021 and expert

discovery will conclude on July 16, 2021. No dispositive motions have been filed at this time. At

this point, the parties are not trial-ready.

    VI.      RECOMMENDATION
    In light of: (a) the noncore, related-to claims in the Complaint; (b) the lack of a proof of claim

or any other claim related to the Notes asserted by HCMS-Defendant; and (c) the lack of any other

consent by HCMS-Defendant to the equitable jurisdiction of the bankruptcy court related to the

Notes, the bankruptcy court recommends the District Court: refer all pre-trial matters to the

bankruptcy court, and grant the Motion upon certification by the bankruptcy court that the parties

are trial-ready.




2005 WL 8179250, at *5 (N.D. Ill. Dec. 6, 2005) (claims withdrawn before adversary proceeding are as if never filed);
see generally, In re Manchester, Inc., No. 08-30703-11-BJH, 2008 WL 5273289, at *3-6 (Bankr. N.D. Tex. Dec. 19,
2008) (permissible to withdraw a claim to preserve jury trial right).
27
   Adversary Case No. 21-03006, Dkt. 26.
28
   Adversary Case No. 21-03006, Dkt. 9.

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   With regard to such pretrial matters, the bankruptcy court further recommends that, to the

extent a dispositive motion is brought that the bankruptcy court determines should be granted and

would finally dispose of claims in this Adversary Proceeding, the bankruptcy court should submit

a report and recommendation to the District Court for the District Court to adopt or reject.

                  ***END OF REPORT AND RECOMMENDATION***




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